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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                              SOUTH BEND DIVISION

JUSTIN BUNCH                           )
                                       )
            Plaintiff,                 )
                                       )
      v.                               )   CASE NO. 3:19-cv-1092-DRL-MGG
                                       )
LT. BENNIT, et al.,                    )
                                       )
            Defendants.                )

      MOTION TO REOPEN DISCOVERY FOR A LIMITED PURPOSE

      Defendants, by counsel, Archer Rose, Jr., respectfully move the Court to reopen

discovery for the limited purpose of addressing newly discovered evidence of a

possible fraud upon the Court.

                         Designation of Evidence in Support
      In support of the instant motion, Defendants designate the following evidence:

      Exhibit A:   Deposition Transcript of Justin Bunch
      Exhibit B:   Malcolm Cobb IDOC OIS Bed History
      Exhibit C:   Justin Bunch IDOC OIS Bed History
      Exhibit D:   Declaration of Amber Smith
      Exhibit E:   Declaration of Robert Bennett
      Exhibit F:   Declaration of Shawna Morson
                                 Factual Background
      Plaintiff, Justin Bunch (“Mr. Bunch”) is a state prisoner in the custody of the

Indiana Department of Correction (“IDOC”) who was housed at the Miami

Correctional Facility (“Miami”) in 2018. [Exhibit A at 15:22-17:01.] Mr. Bunch is

reportedly a former member of an IDOC Security Threat Group (“STG”) – the Saxon


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Knights – who attempted to form an anti-gang 501(c) non-profit. [Id at 19:23-26:07.]

In February 2018, Mr. Bunch requested protective custody due to purportedly related

threats to his health and safety. [Id at 52:04-25; ECF 5-2 at 13-15.] Mr. Bunch’s

request was denied by Defendant Williams. [ECF 5-2 at 13.] On November 28, 2018,

Mr. Bunch was assaulted by other offenders and suffered several physical injuries.

[ECF 5-2 at 19-21.] Mr. Bunch contends that the November 28th assault was preceded

by a related assault on November 22nd and multiple requests for protection, in writing

and in person, to Defendants Bennett, Hyatte, and Smith. [ECF 38 at 1-2.] After the

November 28th assault, Mr. Bunch was housed for some time in the Miami infirmary

with another offender, Malcolm Cobb (“Mr. Cobb”). [Exhibit A at 96:08-98:09.] Mr.

Bunch and Mr. Cobb were not housed together in the months preceding the November

28th assault. [Exhibit B-C.]

                               Procedural Background

      Mr. Bunch initiated this cause of action with the filing of his complaint on

November 21, 2019. [ECF 1; ECF 5-2.] In his complaint, Mr. Bunch alleged, in part,

as follows:




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As exhibits to his complaint, Mr. Bunch submitted three (3) IDOC requests for

interview forms dated “11-22-2018” (Ex. B1.), “11-22” (Ex. B2), and “11-23-18” (Ex C).

[ECF 5-2 at 16-18.] Upon screening, Mr. Bunch was permitted to proceed on an

Eighth Amendment failure-to-protect claim for monetary damages against

Defendants Bennett, Smith, and Williams. [ECF 4.]

           On August 3, 2020, Mr. Bunch moved for leave to amend his complaint. [ECF

30.] Mr. Bunch’s motion was granted and his amended complaint1 screened by the

Court. [ECF 38.] Upon screening, the Court permitted Mr. Bunch leave to proceed on

an Eighth Amendment failure-to-protect claim against Warden William Hyatte, Unit

Team Manager James Williams, Lieutenant Robert Bennett, and former IDOC

Sergeant Amber Smith in their personal capacity for money damages. [ECF 38 at 4.]

The Court summarized Mr. Bunch’s allegations as contained in the amended

complaint as follows:

                    As with his original complaint, Mr. Bunch alleges that, on
                    February 2, 2018, he submitted a written request for
                    protective custody because a group of other inmates at the
                    Miami Correctional Facility (MCF) had assaulted him and
                    threatened to do so again. Unit Team Manager James

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    Mr. Bunch did not attach any exhibits to his amended complaint. [ECF 39.]

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                    Williams denied this request. On November 22, 2018, these
                    inmates assaulted Mr. Bunch, resulting in a broken arm,
                    broken teeth, and a cranial injury. Shortly thereafter, Mr.
                    Bunch notified Sergeant Amber Smith and Lieutenant
                    Robert Bennett1 in person and in writing of the ongoing
                    risk to his safety posed by these inmates, but they didn’t
                    take any steps to protect him. On October 30, 2018, he
                    spoke directly to Warden William Hyatt and told him he
                    was at risk of being attacked. The warden allegedly
                    responded, I don’t offer [protective custody] here. Don’t
                    break the law and you won’t come to prison.
                    On November 28, 2018, Mr. Bunch returned to his
                    dormitory, and these inmates attacked him again by
                    stabbing him and stomping on him. He went to the hospital
                    and was in the infirmary for thirteen weeks as a result of
                    his extensive injuries. He also developed severe anxiety
                    disorder and posttraumatic stress disorder.

           Id (internal quotation marks omitted; emphasis added).

           The discovery deadline passed November 16, 2020. [ECF 48.] The dispositive

motion deadline is January 4, 2021. [ECF 65.]

                                         Deposition of Mr. Bunch

           On September 18, 2020, Mr. Bunch was deposed. [Exhibit A.] The three (3)

IDOC requests for interview filed as exhibits to Mr. Bunch’s original complaint were

made exhibits to his deposition. [Id at 188-190.] Mr. Bunch was questioned regarding

those documents. [Id at 85:06-96:13.] He testified that he sent or hand delivered these

documents on November 22nd or 23rd to Defendants Smith and/or Bennett. [Id.] He

also testified that he sent additional documents to Defendants Smith and Bennett at

that time. [Id.] Mr. Bunch testified that he spoke in person to Defendants Hyatte2,

Smith, and Bennett in October or November 2018 regarding threats to his health and



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    Mr. Bunch did not allege in person communication with Warden Hyatte in his initial complaint. [ECF 1.]

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safety, identified the offender threatening him by nickname, location, and physical

description, but his concerns were not addressed prior to the November assaults. [Id

at 86:12-90:03, 93:01-25, 133:18-136:11, 138:09-139:07.] He testified that the

assailants’ names were unknown to him at that time. [Id at 95:07-13, 105:04-106:16,

134:07-24.] He confirmed that he spoke with a doctor in person on November 27,

2018, but did not complain of or request treatment for a broken arm, because he was

speaking with a psychiatrist.3 [Id at 140:08-143:05, 209-210.]

        After the November 28th assault, Mr. Bunch testified that he was admitted to

the infirmary at Miami, where he was housed with Offender Malcolm Cobb (“Mr.

Cobb”). [Id at 96:08-98:09.] Mr. Cobb was described as a “legal beagle[] or a jailhouse

lawyer” who “did quite a bit of paralegal work.” [Id.] Mr. Bunch testified that he

received advice but not assistance with the preparation of his complaint from Mr.

Cobb. [Id.]

       Plaintiff’s Production of Documents and Interrogatory Responses

        On September 25, 2020, Plaintiff filed a copy of his responses to Defendants’

written discovery requests, including responsive documents. [ECF 53-55.] In

particular, Plaintiff produced and filed several additional documents purportedly

authored and submitted on November 22nd or 23rd. [Id at 13, 24, 50.] Of note, a letter

addressed to Defendant Bennett is dated “11-23-18” and includes, in part, the

following:




3
 Mr. Bunch’s rationalization for failing to request medical care for his allegedly broken arm when face-to-face with
Dr. Pintal was that “[i]t would be like asking a plumber to work on my car.” [Ex. A at 142:24-143:05.]

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Id at 50. The inclusion of “HURTADO” is curious, as when deposed, Mr. Bunch

testified that he did known him as anything other than “COUNT” at that time. [Ex.

A at 95:07-13, 105:04-106:16, 134:07-24.]

      In his signed interrogatory responses, in pertinent part, Plaintiff made the

following sworn responses:




      ECF 53 at 3;




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      Id at 7;




      Id at 10;




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      Id at 11; and




      Id at 17.

                      Discovery of the Possible Fraud

      On December 28th and 29th 2020, undersigned counsel reviewed Mr. Bunch’s

deposition transcript, written discovery exchanged between the parties, and

additional information in preparation to file a motion for summary judgment, in



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whole or part.4 During the course of this review, undersigned counsel sought to

determine who responded to several of Mr. Bunch’s requests dated November 22nd or

23rd, 2018. Defendant Smith does not recall the requests and did not respond to them;

nor does she know who did. [Exhibit D.] Defendant Bennett likewise does not recall

receiving any related document from Ofd. Bunch before the November 28th assault.

[Exhibit E.] He does not know you responded to the requests for interview addressed

to him. [Id.] The assistance of the Miami litigation liaison was enlisted in the ongoing

attempt to identify the responding individual. The litigation liaison forwarded the

requests to the Miami Grievance Specialist who knew happened to know the answer.

        Shawna Morson is the Grievance Specialist at Miami. [Exhibit F at 1 ¶ 2.] As

the Grievance Specialist at Miami, she oversees the IDOC Offender Grievance

Process at Miami and has access to offender grievances and related records. [Id at 1

¶ 3.] She is familiar with Mr. Cobb, his handwriting and grievance related tendencies,

as he filed numerous grievances for himself and other offenders while previously

housed at Miami. [Id at 1 ¶ 4.] She is also familiar with Mr. Bunch, as he filed a

number of grievances after being housing in the infirmary at Miami beginning

November 28, 2018. [Id at 1 ¶ 5.] She has reviewed two (2) IDOC requests for

interview previously filed in this cause of action as ECF 5-2 at 17-18. [Id at 1 ¶ 7.] It



4
  The facts regarding Defendant Williams are markedly distinct from those regarding the remaining defendants, as
Mr. Bunch testified during his deposition that Defendant Williams could not have known of any communications
regarding his health and safety in October and November 2018, as he was away from work at that time. [Ex. A at
136:12-138:08.] Undersigned counsel has contemplated proceeding with a partial summary judgment motion
limited to Defendant Williams at this time. However, should the relief sought herein be granted, further
development of the factual record will be possible. Thus, in the interest of judicial economy, undersigned counsel
first seeks to address the further development of newly discovered facts prior to making a final determination as to
a dispositive motion.

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 is her opinion that those requests were likely written by Mr. Cobb. [Id at 1 ¶ 8.] At

 the end of 2018 and beginning of 2019, she discovered that Mr. Cobb was submitting

 IDOC requests for interview, such as ECF 5-2 at 17-18, that he had written and

 initialed in the “Action” section as a response in an attempt to falsify satisfaction of

 the initial, informal grievance step. [Id at 1 ¶ 9.]

       When she reviewed the aforementioned requests, the writing in the “Action”

 section in each stood out to her as indicative of Ofd. Cobb’s involvement. [Id at 1 ¶

 10.] In her opinion, the handwriting in each request also appears to be consistent

 with Mr. Cobb’s handwriting. [Id at 1 ¶ 11.] She previously spoke with Mr. Cobb about

 her concerns regarding his behavior at which time he admitted writing in the “Action”

 section of requests for interview forms such as ECF 5-2 at 17-18. [Id at 1 ¶ 12.]

       She has reviewed grievances submitted by Mr. Cobb during November 2018

 that reflect the same type of writing in the “Action” section. [Id at 1 ¶ 13.] She has

 also reviewed several grievances submitted by Mr. Bunch in the days after November

 28, 2018 that appear to be written by Mr. Cobb. [Id at 1 ¶ 14.] Based upon her review

 of records, it appears that ECF 5-2 at 18 was originally submitted by Mr. Bunch in

 conjunction with his offender grievance log # 104847. [Id.] She has reviewed another

 grievance and accompanying request for interview submitted by Mr. Bunch in

 February 2019 that she logged as # 106009 that does not appear to have been written

 by Mr. Cobb. [Id at 1 ¶ 15.]




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       Thus, it is now apparent that Mr. Bunch may have perpetrated a fraud upon

 the Court by knowingly submitting false documents and/or statements in an effort to

 further his cause of action against the Defendants.

                                  Legal Standard
              The decision to reopen discovery rests within the broad
              discretion of the Court. And under Federal Rule of Civil
              Procedure 16(b), a schedule may be modified only for good
              cause and with the judge's consent. The good cause
              standard focuses on the diligence of the party seeking the
              extension. To demonstrate good cause, a party must show
              that despite its diligence, the time table could not
              reasonably have been met.

              Along with good cause, [when a] motion to extend the
              discovery deadline [is] untimely, [the moving party] must
              also show excusable neglect under Federal Rule of Civil
              Procedure 6(b). Excusable neglect is a somewhat elastic
              concept, Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd.
              P'ship, 507 U.S. 380, 391, 113 S.Ct. 1489, 123 L.Ed.2d 74
              (1993), demanding an equitable determination that can
              encompass situations in which the failure to comply with a
              filing deadline is attributable to negligence, Robb v.
              Norfolk & W. Ry. Co., 122 F.3d 354, 355–56 (7th Cir.1997)
              (quoting Pioneer, 507 U.S. at 394); see also Commodity
              Futures Trading Comm'n v. Lake Shore Asset Mgmt. Ltd.,
              646 F.3d 401, 404–05 (7th Cir.2011); Raymond v.
              Ameritech Corp., 442 F.3d 600, 606 (7th Cir.2006)
              (explaining that the excusable neglect determination is at
              bottom an equitable one, taking into account all relevant
              circumstances surrounding the party's omission (quoting
              Pioneer, 507 U.S. at 395)); Goodman v. Clark, No. 2:09 CV
              355, 2010 WL 2838396, at *2 (N.D.Ind. July 12, 2010)
              (same).

       Lapsley v. Fries, 2012 WL 2721909 at *2 (N.D. Ind. 2012) (internal quotation

 marks and some citations omitted).




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                     Relief Sought and Argument in Support

       Presented with this eleventh-hour, yet critical, factual development,

 undersigned counsel has weighed several options, including: 1) proceeding forth with

 a partial summary judgment motion as discussed above in footnote 4, 2) a motion for

 sanctions, up to and including dismissal, 3) a motion to reconsider and dismiss

 pursuant to 28 U.S.C. § 1915A as a frivolous or malicious lawsuit, or 4) seeking to

 reopen discovery for a limited purpose. As addressed before, judicial economy tends

 to support abeyance of a dispositive motion for the moment. A motion for sanctions

 may be premature and any 28 U.S.C. § 1915A reconsideration may be done sua sponte

 by the Court. Thus, Defendants, by counsel, respectfully move the Court to reopen

 discovery for a period of ninety (90) days in order to conduct the following additional

 discovery:

       1. Depose Mr. Cobb regarding the related documents likely authored by Mr.

           Cobb and his aid to Mr. Bunch;

       2. Serve additional written discovery upon Mr. Bunch limited to further

           development of any communications with the named Defendants in October

           and November 2018 regarding purported threat(s) to his health and safety,

           the related documents likely authored by Mr. Cobb, and the aid rendered

           by Mr. Cobb;

       3. Dependent upon the come of the aforementioned, depose Mr. Bunch again,

           and




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       4. Dependent upon the outcome of the aforementioned, retain the services of

           a handwriting expert.

       Good cause to reopen discovery exists due to the likelihood of fraud. Certainly,

 prior to the discovery deadline passing, their existed several concerns regarding Mr.

 Bunch’s credibility as addressed above, but the likelihood of document forgery was

 not yet in consideration. Yet, thanks to the efforts of the staff at Miami, that

 likelihood is now apparent. Certainly, taking into account all relevant circumstances,

 excusable neglect likewise exists to warrant reopening discovery.

       WHEREFORE, Defendants, by counsel, respectfully move the Court to reopen

 discovery for ninety (90) days for the aforementioned limited purposes and all other

 just and proper relief.

                                               Respectfully submitted,

                                               CURTIS T. HILL, Jr.
                                               Indiana Attorney General
                                               Attorney No. 13999-20

 Date: January 4, 2021                  By:    /s/ Archer Rose, Jr.
                                               Archer Rose, Jr.
                                               Deputy Attorney General
                                               Attorney No. 35969-49

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                           CERTIFICATE OF SERVICE

       I hereby certify that on January 4, 2021, a copy of the foregoing was filed

 electronically. Service of this filing will be made on all CM/ECF-registered counsel

 by operation of the Court’s electronic filing system. Parties may access this filing

 through the Court’s system.

       I further certify that on January 4, 2021, I mailed, by United States Postal

 Service, first-class postage prepaid, the document to the following non CM/ECF

 participants:

       Justin Bunch
       DOC #170730
       New Castle Correctional Facility
       P.O. Box A
       1000 Van Nuys Road
       New Castle, IN 47362

                                               Archer Rose, Jr.
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